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          Lien and Receivables Purchase and Assignment Agreelnent
         This Lien and Receivables Purchase and Assignment Agreement ("Agrcement") is entered into as
of the Effective Dare (as such term is defined on the signature page attached hereto) by and between
HMR Funding, LLC, a Delaware limited liability company with a principal office located at 92 II Forest
Hill Avenue, Suite I0 L Richmond, VA 23235 (ref erred to herein as "HMRF'), and the party set forth on
the signature page attached hereto (referred to herein as "Medical Provider").

                                                 RECITALS
         WHEREAS, Medical Provider has rendered and will continue to render medical services to
patients who are unable to pay the costs and expenses associated with such medical services;

        WHEREAS, some of Medical Provider's patients are pursuing claims for compensation             related to
personal injuries allegedly sustained as a result of the fault or negligence of third parties;

        \V1-IEREAS, HMRF directly and through its Affiliates (as defined below), is engaged in the
business of purchasing accounts receivable from certain medical providers related to personal injury
claims; and

         WHEREAS, Medical Provider and m1RF desire to establish a contractual relationship whereby
HMRF and its Affiliates may agree now, and in the future, in writing, to purchase certain accounts
receivable from Medical Provider arising out of medical services provided to Patients with pending
personal injury claims.

     NO'" THEREFORE, in consideration of the mutual covenants and promises contained herein.
HMRF and Medical Provider agree as follows:

      L    Agreement to Purchase Accounts Receivable; Definition of Liens; Affiliate Adoption.

             (a.) In the event Medical Provider and HMRF mutually agree that HMRF will purchase from
                  Medical Provider certain accounts receivables, HMRF and the Provider will prepare and
                  execute an accounts receivable purchase order in me form attached hereto as Schedule 1
                  ("Purchase Order"). With respect to each Purchase Order, the term 0) "Patient" shall mean
                  the patient identified on the applicable Purchase Order; and (ii) "Receivables" shall mean the
                  receivables identified on the applicable Purchase Order. Along with the first Purchase Order
                  executed hereunder for each Patient, Medical Provider will provide executed copies of the
                  Required Documents (as defined in Section 5). For purposes of this Agreement, the term
                  "Liens" means al1 liens associated with the Receivables purchased by HMRF hereunder,
                  which shall be evidenced by the Assignment Agreement in the form attached ("AssignmcJ){
                  Agreement") executed by both the applicable Patient and Medical Provider. No Purchase
                  Order will be valid unless signed by the Medical Provider and m\1RF.




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            (b.) Affiliates (as detlned below) of IDARF may purchase Receivables from Medical Provider
                 pursuant to the terms and conditions of this Agreement and in accordance with the process
                 set forth in Section I (a) above, provided that each such Affiliate enters into a Purchase Order
                 (along with any other forms required Pursuant to Section 1(a) and/or Section 5 hereof) for
                 such Receivables.      Any Affiliate that enters into such a Purchase Order with Medical
                 Provider will be deemed to be "HMRF" hereunder for purposes thereof; provided that such
                 Purchase Orden together with this Agreement, will constitute a separate contract solely
                 between Medical Provider and the Affiliate with respect to Receivables purchased by such
                 Affiliate, and Medical Provider will look solely to such Affiliate (and not to HMRF)fur
                 satisfaction of any liability arising under or relating to the relationship between Medical
                 Provider and such Affiliate, including without limitation, any liability arising under or
                 relating to the purchase of Receivables by such Affiliate. For purposes of this Agreement,
                 the term "Affiliate" means any entity that directly or indirectly (through one or more
                 intermediaries) controls, is controlled by, or is under common control with HMRF.

 2.         Assignment ()f Receivables. Subject to the terms of this Agreement, Medical            Provider hereby
            assigns, sells, transfers, conveys and delivers to HMRF all of its right. title and   interest in and to
            the Receivables and Lierus) that correspond to the applicable Purchase Order.          In exchange for
            the assignment of the Receivables and Lien(s) by Medical Provider, HMRF               agrees to pay to
            Medical Provider the amounts set forth in Section 3 hereof.

 3.                                       Provider, HMRF will pay Medical Provider an amount equal to (i)
 LID' /..                               (the "Percentage"); multiplied by (ii) the Full Bill Charges (as such
.         term is defined on      'h Purchase Order, with respect to each service ("Service") listed on each
lL·vl"~-Purehase     Order) (such amount, the "Reimbursement"). Reimbursements will be paid to Medica!
          Provider by Hl\1RF within thirty (30) days after HMRF receives               an
                                                                                        Required Documents
          ("DeIiverable Date").      Medical Provider is not obligated to submit all accounts receivable
          associated with thepersonal iojury claim to HMRF for payment and may, at its election, retain
          some or all of such receivables ("Other Receivables"), provided that Medical Provider's
          reimbursement for such Other Receivables by Patient or any third party payor is junior in right of
          payment to HlvlRF's right of payment with respect to the Receivables and Liens. In the event
          HIv1RF pays the Reimbursement within fifteen (15) days of the Deliverable Date, HJ\tIRF shall be
          entitled to a one percent (I%) discount, and HMRF will make payment to Medical Provider in an
          amount equal to ninety-nine percent (99%) of the Reimbursement amount.

 4.         Billing Practices of Medical Provider. With respect to the Services, Medical Provider shall bill
            the Patient as foll    : (i) in the event Medical Provider files its billing schedules with applicable
            state government        critics, Medical Provider will bill the Patient for the Services in the amount
            set forth in such billing schedules; (ii) in the event Medical Provider docs not file its billing
            schedules with applicable state government authorities, Medical Provider will bill all usual and
            customary charges to the Patient. In no event will Medical Provider discount (a) any bill or
            invoice provided to the Patient associated with the Services; or (b) the Lien amount. All such
            bills and/or invoices will reflect that all amounts are still owed by the Patient. Bills and invoices
            sent to Patients will not reflect fIMRF's purchase of the Receivables in any manner, including
            without limitation, listing them as payments, offsets, contractual write-offs, or adjustments. For
            the avoidance of doubt, the amount of the Lien shall be equal to the gross billed charges for the
            Services.

 5.         Required Documents,       With respect to the first Purchase Order executed hereunder for each
            Patient and/or with respect to the first Purchase Order executed hereunder by an Affiliate for an


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            existing Patient, Medical Provider shall deliver to HMRF (i) the executed Assignment Agreement
            in the form attached, (ii) an HeFA Form UB-92 or other similar billing instrument indicating full
            bin charges related to the services provided to Patient, and (iii) medical records for services
            rendered (together .with the Assignment Agreement and Billing Instrument the "Required
            Documents").      With respect to each Purchase Order executed hereunder (i.e, regardless of
            whether such Purchase Order relates to a Patient covered by an existing Purchase Order), Medical
            Provider shall deliver to HMRF an HeFA Form UB-04, UB-92, 1500 or other similar billing
            instrument indicating full bill charges related to the services provided to Patient. I-llv1RF's
            payment obligations pursuant to Section 3 hereof are expressly conditioned on it'> receipt of the
            Required Documents.

6.          Cooperation. In addition to executing and delivering all required instruments and notices,
            Medical Provider covenants and promises that following its execution and delivery of this
            Agreement, it will:

            (a)      cooperate with all reasonable requests of HJ\iIRF to advise Patient and Patient's attorneys
                     as [0 the transfer and assignment of such Receivables to HN1RF in order to ensure that
                     payment is directly remitted to HMRF on a timely basis. Upon request, Medical Provider
                     will deliver to HMRF or, upon the request of HMRF, the attorney for Patient, any then
                     existing documents necessary to enforce the collections of the Receivables, including
                     without limitation, bills, medical reports, payment records, copies of the Assignment
                     Agreement and/or correspondence;

            (b)      immediately contact HMRF and advise HMRF as to the receipt of any check or other
                     form of payment received by Medical Provider on account of the Receivables owed by
                     patients, and as instructed by HMRF, endorse over, deliver and/or transfer such payment
                     to HMRF, or its designee;

            (c)       immediately forward to HMRF any correspondence, or notice relating to the Receivables,
                      immediately report to HMRF any communication in any other form (e.g. mail, telephone,
                      email or facsimile transmissions), and Medical Provider, shall advise the communicating
                      party to communicate directly and solely with HMRF; and

            (d)       it shall not grant any lien, encumbrance,   sale or assignment of the Receivables     and/or
                      Lien(s) to any third party.

7.          Representations    and    Warranties   of Medical     Provider:   Medical   Provider   represents   and
            warrants as follows:

            (a)       There are no claims, actions, suits, or judgments       pending against Medical Provider
                      related to the Services and/or Patient;

            (b)       There have been no disciplinary actions brought against Medical Provider;

            (c)       There have been no allegations or claims of improper billing, false billing or insurance
                      fraud brought against Medical Provider;

            (d)       The Receivables and Liens to be transferred under this agreement are valid, in good
                      standing, and are not SUbject to any liens or encumbrances;




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            (e)      All hills and invoices which were the basis for the Receivables are true and accurate in all
                     respects and were generated with usual and customary amounts for the Services;

            (f)      All Services rendered and billed were reasonable (with respect to the applicable Patient)
                     and related to injuries sustained in the accidents or other occurrences which are the basis
                     of claims or litigation, and the proceeds from which are subject to the Liens seeming the
                     Receivables;

            (g)      Medical Provider has not received payment from any third party for the Receivables;

            (11)     Medical Provider has made no statement or representation to HMRF prior to the
                     execution and delivery of the Agreement which was misleading or untrue as to any
                     material fact, or omitted or failed to disclose any material fact related to this Agreement;

            (i)      This Agreement was duly authorized by Medical Provider;

            m        Medical Provider is not bound by any existing agreements, arrangements or options
                     restricting in any manner the transfer of any rights Of interests in the Receivables; and

            (k)      Medical Provider is not a party to any Agreement which would in any way impair or limit
                     its Power to enter into this Agreement.

It          Indemnification.      Medical Provider shall indemnify, defend and hold harmless HMRF and its
            affiliates and its and their officers, directors, employees and agents from and against any and all
            liabilities, judgments, damages, costs and expenses (including reasonable attorneys' fees) arising
            out of or related to (a) any breach by Medical Provider of the representations and warranties set
            forth herein; and/or (b) any claim brought by Patient related to the Services.

9.          Attorney's Fees. If the event a dispute arises under this Agreement, the prevailing party in such
            dispute will be entitled to recover from the other party reasonable attorney's fees incurred in
            connection with such dispute.

10.         Severahilitv of Provisions. The provisions contained in this Agreement wilt be deemed to be
            severable, and the invalidity of any provision will not affect the validity Of enforceability of any
            other provision.

11.         Binding Effect. AIl of the terms and provisions of this Agreement and its associated Exhibits and
            Schedules are binding upon, inure to the benefit of, and are enforceable by HMRF and the
            Medical Provider and their respective administrators, executors, legal representatives, heirs,
            successors and permitted assigns.

12.         Waiver. The failure of either HMRF or the Medical Provider to insist upon the performance of
            any of the terms and conditions of thisAgreement, or the waiver of allY breach of the tCl1TJS and
            conditions of this Agreement, shall not be construed as thereafter waiving any such terms and
            conditions, but the same shall continue and remain in fun force and effect as if no such
            forbearance or waiver had occurred.

13.         Headings. The headings contained in this Agreement are for convenience only and do not limit
            or otherwise affect the meaning or interpretations of this Agreement.




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14.   Counterparts.    This Agreement may be executed in any number of counterparts, each of which,
      when executed and delivered, shall be deemed to be an original, and all of which, when taken
      together, shall constitute the Agreement. Delivery of an executed counterpart of this Agreement
      by facsimile transmission shall be equally as effective as delivery of an original executed
      counterpart of this Agreement.

15.   Choice of Law & Venue. The validity, interpretation, and performance of this Agreement shall
      be controlled by and construed under the laws of the Commonwealth of Virgi nia.

Hi.   Confidentiality.   Each of HMRF and the Medical Provider may be given access to the other
      party's Confidential Information (as defined below) hereunder. "Confidential Information"
      shall mean, the terms of this Agreement, and the non-public business and technical
      information of the disclosing party. Medical Provider shall not disclose to any third party.
      including without limitation lawyers or other professionals, the terms of this Agreement without
      the prior written consent of "HMRF. Neither HMRF nor the Medical Provider will (a) disclose
      the Confidential Information of the other party to any third party; or (b) use the Confidential
      Information of the other party except as necessary to perform its obligations hereunder.
      Notwithstanding the foregoing. the receiving party may disclose the Confidential Information
      of the disclosing party pursuant to a valid subpoena or court order, provided that the
      receiving party notifies the disclosing party in writing advance of such disclosure, provided
      that such notice is permitted pursuant to applicable law. Confidential Information will not
      include information which: (a) Is or becomes available to the general public through no fault of
      the party receiving the Confidential Information; or (b) is rightfully received by the receiving
      party from a third party without a duty of confidentiality.     Medical Provider acknowledges
      and agrees that (1) in connection with this Agreement, HMRF may refer potential patients in
      need of health care services to Medical Provider with the intention of purchasing the
      receivables associated with such medical services from Medical Provider pursuant to the
      terms of this Agreement; and (ii) Medical Provider shall Dot circumvent HMRF to receive
      payment from such potential patients for such medical services and/or circumvent HMRF to
      secure a lien in connection with such receivables. The provisions of this Section 16 shall
      survive termination or expiration of this Agreement for a period of three (3) years.

17.   HIPAA.      HMRF and Medical Provider acknowledge that each is a Business Associate and
      Covered Entity, respectively, as defined in the regulations promulgated at 45 CFR, Parts 160,
      !62, 164 and 614 under the Health Insurance Portability and Accountability Act of [996, as
      subsequently amended ("HIPAA") and that they will comply with such regulations on or before
      the date that compliance is required by regulations. All capitalized terms in this section not
      defined herein shall have the meaning as set forth in 45 CFR, Part 160 and 164. Nothing in this
      Agreement will be construed to require HMRF or the Medical Provider to use or disclose
      Protected Health Information ("PH]") other than in accordance with the Privacy Standards and
      applicable state law. Each of HMRF and the Medical Provider agrees that only the minimum
      necessary PHI win be requested to accomplish the intended purpose of the request. Each of
      HMRF and the Medical Provider represents that any Business Associate that requests or receives
      PHI on behalf of such party shall have entered into an agreement with such party that contains the
      written assurances required by HIPAA, subject to any modifications required by state law.

18.   Assignment. Subject to 1(b), this Agreement shall be binding upon and inure to the benefit of
      HMRF and the Medical Provider and their respective successors and assigns.




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19.       Entire Agxeement.        TIlls Agreement represents the entire understanding   and agreement. between
          HMRFand      the   Medical    Provider as    the subject matter herein and supersedes all other
                                                      in
          negotiations, understandings, and representations made by and berwecn HMRF ami the Medical
          Provider. The terms of this Agreen.lent shall be construed in order to give full effect to the
          provisions contained herein and any amtnguity in the terms of this Agreement shaH not he
          construed against the maker hereof. This Agreement may not be amended or modified              except in a
          writing signed by HMRF and the Medical Provider.

          IN WITNESS      WHEREOF,         the parties have executed this Agreement   as of the dati.' set forth
below.




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                                                                   Mark G. Guerin, Chief Executi        Officer

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